




NO. 07-03-0371-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



AUGUST 15, 2003



______________________________





ALBERTO RENE PACHECO AKA ALBERTO ANTONIO SAUCEDO

AKA ALBERTO PACHECO AKA ALBERTO PACHECO SOLIS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;



NO. 42,881-B; HONORABLE JOHN BOARD, JUDGE



_______________________________



Before QUINN and REAVIS, JJ. and BOYD, S.J.
(footnote: 1)	



MEMORANDUM OPINION



Following a plea of not guilty, appellant was convicted by a jury of delivery of a controlled substance, enhanced, and punishment was assessed at 90 years confinement. &nbsp;Proceeding 
pro se
, appellant filed a notice of appeal in which he indicated he is indigent and requested appointment of counsel. &nbsp;Based upon the rationale expressed herein, we dismiss for want of jurisdiction.

Appellant’s sentence was imposed on December 11, 2001. &nbsp;His notice of appeal bears a file stamp date from the trial court clerk of May 14, 2003. &nbsp;A defendant must file a written notice of appeal with the trial court clerk within 30 days after the date sentence is imposed. &nbsp;Tex. R. App. P. 25.2(c) &amp; 26.2(a)(1). &nbsp;The Texas Rules of Appellate Procedure provide for a 15-day extension in which to file the notice of appeal if it is accompanied by a motion for extension of time. &nbsp;Tex. R. App. P. 26.3. &nbsp;This Court is without jurisdiction to address the merits of an appeal and can take no action other than to dismiss the appeal if it is not timely perfected. &nbsp;
See
 Slaton v. State, 981 S.W.2d 208, 210 (Tex.Cr.App. 1998). &nbsp;Appellant’s notice filed approximately 17 months after sentence was imposed is untimely and does not invoke our jurisdiction.
(footnote: 2)
	Accordingly, the purported appeal is dismissed for want of jurisdiction.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice



Do not publish.

FOOTNOTES
1:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.


2:The conviction appealed from was previously affirmed by this Court in an unpublished opinion on December 17, 2002, in Cause Number 07-02-0076-CR.




